             Case 2:20-cr-00045-GAM Document 362 Filed 09/26/22 Page 1 of 2



                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                  :
                                          :
      v.                                  :     CRIMINAL NO. 20-45
                                          :
ABDUR RAHIM ISLAM                         :
SHAHIED DAWAN                             :
KENYATTA JOHNSON                          :
DAWN CHAVOUS                              :
_______________________________________________________________________________

                                                 ORDER

          This 26th day of September, 2022, it is hereby ORDERED as follows:

          Defendant Islam’s Motion to preclude testimony or argument relating to Universal

Community Homes Bylaws, ECF 337, is DENIED. Defendant’s contentions as to relevance are

properly the subject of cross-examination and argument at trial.

          Defendant Islam’s Motion to preclude certain financial references, ECF 338, is DENIED.1

There is sufficient evidence of an interrelationship between the various Universal affiliated entities

to permit introduction of the disputed evidence during phase I of the trial.

          Defendant Johnson’s Renewed Motion to exclude evidence relating to state ethics laws,

ECF 342, is DENIED, for the reasons set forth in the Court’s previous memorandum opinion.

          Defendant Johnson’s Motion for supplemental voir dire questions, ECF 356, is GRANTED

in part. The Court will modify its question concerning juror attitudes toward political corruption.

          Defendant Chavous’ Motion to limit the order of presentation of economic information,

ECF 336, is DENIED. Defendant has not shown the type of prejudice that would be required to

constrict the Government’s options in presenting its case-in-chief.

          Defendant Chavous’ Motions to preclude evidence regarding a meeting with Maximus,


1
    Defendant Dawan has joined in both of Mr. Islam's motions.
          Case 2:20-cr-00045-GAM Document 362 Filed 09/26/22 Page 2 of 2



Inc., ECF 340 & 345, are DENIED. The evidence is relevant to the issue of intent and to the role

Ms. Chavous played in the bribery scheme alleged by the Government.

       Defendant Chavous’ Motion to preclude the testimony regarding a meeting between the

prosecution and Ms. Chavous’ attorneys, ECF 339, is DENIED, for reasons the Court will set forth

in a separate sealed memorandum.

       The Joint Motion of Defendants Johnson and Chavous to preclude all evidence pertaining to

certain rental properties, ECF 344, is GRANTED, as such evidence is of questionable relevance,

would appear to be offered for the purpose of proving propensity, and is unduly prejudicial.

       The Government’s Motion to Seal and Unseal, ECF 354, is GRANTED as to the

documents it seeks to file under seal but DENIED as to the documents it seeks to unseal.




                                                               /s/ Gerald Austin McHugh
                                                             United States District Judge




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